   Case: 1:20-cv-04156 Document #: 164 Filed: 08/10/22 Page 1 of 4 PageID #:2396




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                       )
 DEMETRIUS JOHNSON,                                    )
                                                       )        Case No. 20 cv 4156
               Plaintiff,                              )
                                                       )        Judge Sara L. Ellis
               v.                                      )
                                                       )        Magistrate Judge Heather K. McShain
 REYNALDO GUEVARA, the ESTATE of                       )
 ERNEST HALVERSON, DARRYL DALEY,                       )
 WILLIAM ERICKSON, JOHN HEALY, and                     )
 the CITY OF CHICAGO                                   )
                                                       )        JURY TRIAL DEMANDED
               Defendants.                             )



PLAINTIFF’S MOTION FOR LEAVE TO FILE PARTIAL MOTION FOR SUMMARY
                           JUDGMENT

        Pursuant to Federal Rule of Civil Procedure 56 and this Court’s Rules, Plaintiff

DEMETRIUS JOHNSON, through counsel, hereby moves for leave to file a motion for partial

summary judgment on his Brady claim against Defendant Guevara. In support of his motion,

Plaintiff states as follows:


        1.      Pursuant to the Court’s standing order on summary judgment motions, on July 19,

2022, Plaintiff informed Defendant Guevara of his intention to file a motion for partial summary

judgment on his Brady claim. Plaintiff’s letter included a proposed joint statement of fact and

requested a conference to discuss the motion per the Court’s rules. See Exhibit A (Letter &

Proposed Joint Statement of Fact).

        2.      As outlined in Plaintiff’s letter, Plaintiff has strong evidence to support a grant of

partial summary judgment against Guevara. Johnson served 13 years in prison for a 1991 murder

and attempted murder. The original suspect in the case, Bryan Johns, was placed in a lineup the


                                                   1
   Case: 1:20-cv-04156 Document #: 164 Filed: 08/10/22 Page 2 of 4 PageID #:2397




night of the crimes and was identified by an eyewitness named Aby Gonzalez, as documented in

a lineup report by Defendant William Erickson. Defendant Reynaldo Guevara wrote a different

lineup report, which stated the contrary—that Gonzalez had not identified Johns, which was later

disclosed to the prosecution and defense. At trial, Guevara testified consistent with his lineup

report, and contrary to Erickson’s lineup report: that Gonzalez had not identified Johns.

       Former Cook County Judge Kevin Sheehan, who was the trial prosecutor, and Johnson’s

criminal defense attorneys, former Cook County Judge Deborah Gubin and now-federal

Magistrate Judge Ruth Miller, all testified unequivocally in their civil depositions that Erickson’s

lineup report was not disclosed to them. Johnson’s criminal defense attorneys also testified that

had Erickson’s lineup report been disclosed, the defense would have impeached Guevara’s

testimony at trial that no witnesses had identified Johns in the lineup the night of the shooting. In

addition, the Erickson lineup report would have strongly supported Johnson’s defense that the

real perpetrator was Johns. In sum, Erickson’s lineup report would have prevented—and

certainly would have undermined confidence in—Johnson’s conviction.

       3.      On August 9, 2022, counsel for all Defendants and Plaintiff’s counsel participated

in a telephone conference. There, the Defendants stated that they believed Plaintiff’s motion

was premature and they refused to confer on the substance of the motion or the proposed joint

statement of facts unless and until the Court granted Plaintiff leave to file a summary judgment

motion.

       4.      Although Plaintiff strongly disagrees with Defendants’ position—he has followed

this Court’s order on summary judgment motions, which does not preclude the early resolution

of undisputed claims—in the spirit of cooperation, Plaintiff now seeks leave to file his motion.




                                                  2
   Case: 1:20-cv-04156 Document #: 164 Filed: 08/10/22 Page 3 of 4 PageID #:2398




       5.      Plaintiff also notes that the current fact discovery deadline in this case is October

27, 2022. See Dkt. 163. In the last joint status report, the parties disagreed as to the expert

discovery schedule and the deadline by which to file dispositive motions. Defendants seek

nearly 12 months for expert discovery and that a dispositive motion deadline be set after the

close of expert discovery. See Dkt. 162.

       6.      In addition to the strong evidence noted above warranting leave for Plaintiff to

file his motion, Plaintiff notes that the Court could resolve the summary judgment motion far

sooner than Defendants’ proposed expert and dispositive motion schedule, which would

streamline the issues, and possibly facilitate an earlier resolution of this matter.



       WHEREFORE, Plaintiff respectfully requests this Court grant him leave to file his

motion for partial summary judgment on his Brady claim against Defendant Guevara, direct

Defendants to participate in the meet and confer process regarding the joint statement of fact, as

contemplated by the court’s case procedure orders, and grant any additional relief the Court

deems just and proper.




                                                  3
   Case: 1:20-cv-04156 Document #: 164 Filed: 08/10/22 Page 4 of 4 PageID #:2399




                                                             RESPECTFULLY SUBMITTED,


                                                             /s/ Danielle Hamilton
                                                             Counsel for Plaintiff

                                                             Arthur Loevy
                                                             Jon Loevy
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                                CERTIFICATE OF SERVICE

       I, Danielle Hamilton, an attorney, certify that on August 10, 2022, I filed the foregoing
pleading using the Court’s CM/ECF system, which effected service on all counsel of record.


                                                     /s/ Danielle Hamilton
                                                     One of Plaintiff’s Attorneys




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